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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                       August 30, 2022
                           UNITED STATES DISTRICT COURT
                                                                                      Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION


LETICIA L. RIVAS,                               §
                                                §
        Plaintiff,                              §
                                                §
VS.                                             §   CIVIL ACTION NO. 7:21-CV-00375
                                                §
DOLLAR FINANCE COMPANY,                         §
                                                §
        Defendant.                              §

      ORDER GRANTING PLAINTIFF’S MOTION TO COMPEL DEFENDANT TO
                       RESPOND TO DISCOVERY

       Upon consideration of Plaintiff’s Motion to Compel Defendant to Respond to Discovery,

(Dkt. No. 24), which is deemed unopposed due to Defendant’s failure to respond to the Motion

within the time period prescribed by Local Rules 7.3 and 7.4, the Court hereby ORDERS that the

Motion is GRANTED. Accordingly, the Court hereby ORDERS that Defendant shall respond to

Plaintiff’s interrogatories and requests for production within 14 days hereof, and Plaintiff shall

submit a motion for attorney’s fees incurred in moving to compel discovery, by September 2, 2022.

        SO ORDERED August 30, 2022, at McAllen, Texas.


                                                      ______________________________
                                                      Randy Crane
                                                      United States District Judge




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